103 F.3d 139
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Theodore C. KULAS, Plaintiff-Appellant,v.Lt. HALEY;  Officer Aguirre;  Officer Haight;  OfficerArbalo, Sgt. Herrington, Officer Ketchum, ClarenceDupnik, Officer Lawless, Pima CountySheriff's Department,Defendants-Appellees.
    No. 95-17008.
    United States Court of Appeals, Ninth Circuit.
    Submitted Nov. 18, 1996.*Decided Nov. 20, 1996.
    
      Before:  PREGERSON, REINHARDT, and T.G. NELSON, Circuit Judges.
      MEMORANDUM**
      Theodore C. Kulas, an Arizona state prisoner, appeals pro se the district court's summary judgment in favor of defendants in his 42 U.S.C. § 1983 action.  We have jurisdiction pursuant to 28 U.S.C. § 1291.  We vacate and remand for further proceedings.
      Before entering summary judgment, district courts must advise pro se prisoners of the requirements of Fed.R.Civ.P. 56.  Klingele v. Eikenberry, 849 F.2d 409, 411-12 (9th Cir.1988).  A review of the district court record reveals that the district court failed to give Kulas notice of the Rule 56 requirements.  Accordingly, we vacate the district court's judgment.  See id.   On remand, the district court shall inform Kulas accordingly.
      VACATED and REMANDED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  See Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    